Thank your for attending 35th Annual Congress Page 1 of 2

Please add the American Payroll Association to your contacts,

Global Payroll Management Institute:

 

 

 

 

Amy M Bradley CPP

Operations Lead

Schenck SC

Janie Whitney 200 East Washington Street
Appleton, WI 54911

Dear Amy Bradley:

Thank you for attending American Payroll Association's 35th Annual
Congress and Global Payroll Management Forum in Orlando, FL, May 16-
20, 2017, You have earned 25.5 RCHs and 2.55 CEUs. RCHs are awarded based
on your workshop selections, RFID badge scanning, and completion of the daily
Congress evaluations. If you feel the number of credits are in error, please return
to the workshop selection form and select all workshops and events you attended
so we can award you the appropriate RCHs. If you hold the CPP or FPC
designation, you can use this letter for recertification purposes. Using your
recertification folder, log the course and the amount of credit given, and insert
this letter as documentation. Registration of CEUs is NOT required for
recertification.

If you are seeking CPE credits, you MUST have completed the session
evaluations that were emailed to you throughout the conference. You may also
access the session evaluations by visiting: www.wynjade.com/apa17/CEU. The
Congress Session Evaluation site is now available online until June 5, 2017. If
you experience any technical difficulties with the website, please contact
apascan@wyndhamijade.com. You will receive your CPE Certificate within 6 — 8
weeks by mail.
This program, 311045, has been approved for 25 (HR ETION
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Institute, Please be sure to note the program ID numberon Z
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The use of this seal is not an endorsement by the HR

Certification Institute of the quality of the program. It means that this program
has met the HR Certification Institute's criteria to be pre-approved for
recertification credit.

  

If you have any unanswered questions concerning payroll, submit a question 8
online by logging on at www.americanpayroll.org and clicking on Online Hotline

 

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or call us at (210) 224-6406 and we'll be glad to refer you to a Hotline Committee
Member.

Again, thank you for your attendance. If you would like to thank your manager
for approving your participation, you'll find sample thank you letters at

http: //legacv.americanpayroll.org/thankyou.html.

We look forward to serving your educational needs in the future.

Sincerely,

 

Dan Maddux
Executive Director

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Connect With APA

American Payroll Association
660 North Main Avenue, Suite 100
San Antonio, Texas 78205

 

 

 

 

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